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  IT IS ORDERED as set forth below:



  Date: May 8, 2019
                                                      _________________________________
                           UNITED STATES BANKRUPTCY COURT
                                                       Sage M. Sigler
                            NORTHERN DISTRICT OF GEORGIA
                                                U.S. Bankruptcy Court Judge
                                   ATLANTA DIVISON
 ________________________________________________________________
   IN RE:

   IMAN EMANUEL DANIEL,            :                   CHAPTER 7
                                   :
              Debtor.              :                   CASE NO.: 17-63608-SMS
                                   :
   ================================:
                                   :
   SLIPAKOFF & SLOMKA, PC          :
                                   :
              Movant               :
                                   :




                ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL

            The above-styled Chapter 7 Case is before the Court on Howard P. Slomka and Slipakoff

   & Slomka P.C’s Motion to Withdraw as Counsel for Debtor, which was filed on April 23, 2019.

   (Docket No. 50). No party has filed a response to the motion. The Court does not consider a

   hearing to be necessary to dispose of the matter. After reviewing the motion and the record in

   the case, the Court considers the request to be reasonable. Accordingly, it is ORDERED that

   Howard P. Slomka and Slipakoff & Slomka P.C’s Motion to Withdraw as Counsel for Debtor is
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   GRANTED. The Clerk shall serve a copy of this order upon Debtor, the Chapter 7 Trustee, the

   U.S. Trustee, and to all parties in interest in the case.



                                         END OF DOCUMENT


   Prepared and presented by:
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